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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

BRANDON PRICE,                               )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )       Civil Action No. 1:24-cv-02810 (UNA)
                                             )
FEDERAL COMMUNICATION                        )
COMMISSION, et al.,                          )
                                             )
                                             )
                      Defendants.            )

                                             ORDER

       For the reasons stated in the accompanying Memorandum Opinion, it is

       ORDERED that Plaintiff’s application for leave to proceed in forma pauperis, ECF No.

2, is GRANTED, and it is further

       ORDERED that the complaint, ECF No. 1, and this case, are DISMISSED without

prejudice.

       This is a final appealable order. See Fed. R. App. P. 4(a).

Date: November 27, 2024
                                                             /s/_________________________
                                                               ANA C. REYES
                                                               United States District Judge
